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   7                             UNITED STATES BANKRUPTCY COURT

   8                                      DISTRICT OF ARIZONA

   9   In re:                                          Chapter 13

  10   JASON A. MCGILVRAY,                             Case No.0:18-bk-10122-BMW

  11                   Debtor.                         DEBTOR’S UNOPPOSED MOTION TO
                                                       DISMISS CASE
  12

  13            Jason A. McGilvray (“Debtor”), by and through undersigned counsel, hereby requests
  14   that the Court enter an Order dismissing the case pursuant to 11 U.S.C. § 1307(b), Bankruptcy
  15   Rules 1017(a) and (f)(2), and Local Rule 9013-1(d). In support of this Motion, the Debtor
  16   relies on the entire record of the case and the following memorandum of points and authorities.
  17                       MEMORANDUM OF POINTS AND AUTHORITIES
  18   I.       JURISDICTION AND VENUE
  19            1.    This Court has jurisdiction over this case under 28 U.S.C. §§ 157 and 1334. This
  20   matter is a core matter under 28 U.S.C. § 157(b)(2)(A).
  21            2.    Venue for this case is proper in this District under 28 U.S.C. §§1408 and 1409.
  22            3.    The statutory predicate for the relief requested is 11 U.S.C. § 1307(b), Rule
  23   1017(a) and (f)(2), and Local Rule 9013-1(d).
  24   II.      FACTUAL BACKGROUND
  25            4.    Prior to filing this case, the Debtor was delinquent on creditor payments and
  26   needed the relief granted by a Chapter 13 case filing.
  27            5.    On August 21, 2018 (“Petition Date”), the Debtor filed, through undersigned
  28   counsel, a voluntary petition in this Court for relief under Chapter 13 of the Code thereby
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   1   initiating the above-captioned case (“Case”).

   2            6.    Debtor was recently informed he would be released from his job with the U.S.

   3   Customs and Border Patrol. His last day of employment is set for August 21, 2019. Debtor will

   4   no longer be able to fund a Chapter 13 Plan moving forward and will likely file a Chapter 7 case

   5   in the near future to discharge his outstanding debts.

   6   III.     REQUEST FOR RELIEF

   7            In a case originally commenced under Chapter 13, “[o]n request of the debtor at any

   8   time . . . the court shall dismiss the case.” 11 U.S.C. § 1307(b). The debtor in such a case is

   9   entitled to dismissal as a matter of right, no hearing is required, and the court’s participation is

  10   required only to verify that the case was commenced as a Chapter 13 case and to determine if

  11   any conditions should be attached to the dismissal. 8-1307 Collier on Bankruptcy P 1307.03

  12   (15th 2015). “The debtor effectuates the dismissal by motion, but because there is no right to

  13   contest the dismissal . . . [n]o hearing is required.” Id.; Rule 1017(a). The Debtor has “an

  14   absolute right to dismiss a chapter 13 petition.” Nash v. Kester, 765 F.2d 1410, 1413 (9th Cir.

  15   1985).

  16            The Debtor commenced this case as a Chapter 13 case in an effort to reorganize his

  17   debts. The Debtor, with no income moving forward, will not be able to sustain a successful

  18   Chapter 13 Plan. Because the Debtor is entitled to dismiss this Case as a matter of right, Debtor

  19   expects this motion will be unopposed and the Court may enter the Order dismissing the Case

  20   without hearing.

  21            WHEREFORE, the Debtor respectfully requests that the Court enter an Order

  22   dismissing the case and granting any additional relief as the Court deems just and appropriate.

  23   A proposed form of Order is attached hereto as Exhibit A.

  24            DATED: August 26, 2019

  25
                                                       ALLEN BARNES & JONES, PLC
  26
  27                                                   /s/PJG 30340
                                                       Thomas H. Allen
  28                                                   Phil J. Giles
       {00185945}                             -2-
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   2                                             Attorneys for Debtor

   3

   4   E-FILED on August 26, 2019 with the
       U.S. Bankruptcy Court and copies served
   5   via ECF notice on all parties that have
       appeared in the case.
   6
       COPY mailed the same date via U.S. Mail to:
   7
       Office of the U.S. Trustee
   8   230 N. First Avenue, Suite 204
       Phoenix, AZ 85003-1706
   9
       COPY e-mailed the same date to:
  10
       Russell Brown, Trustee
  11   3838 North Central Ave., #800
       Phoenix, AZ 85012-1965
  12   mail@ch13bk.com

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